                                  EXHIBIT F
                             [November 2021 Invoice]




DOCS_DE:238894.1 18502/001
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                               Pachulski Stang Ziehl & Jones LLP
                                         780 Third Avenue
                                            34th Floor
                                        New York, NY 10017
                                                              November 30, 2021
IDS                                                           Invoice 129103
                                                              Client  18502
                                                              Matter  00002
                                                                      IDS

RE: Committee Representation

 _______________________________________________________________________________________

         STATEMENT OF PROFESSIONAL SERVICES RENDERED THROUGH 11/30/2021
               FEES                                             $71,856.00
               EXPENSES                                            $934.44
               TOTAL CURRENT CHARGES                            $72,790.44

               BALANCE FORWARD                                 $332,302.26
               TOTAL BALANCE DUE                               $405,092.70




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  Summary of Services by Professional
  ID        Name                        Title              Rate        Hours              Amount

 BMM        Michael, Brittany M.        Counsel           695.00       26.80        $18,626.00

 IAWN       Nasatir, Iain A. W.         Partner           700.00        1.80         $1,260.00

                                                                       73.60        $51,520.00
 IDS        Scharf, Ilan D.             Partner           700.00
                                                                        1.50          $450.00
 LSC        Canty, La Asia S.           Paralegal         300.00
                                                                     103.70          $71,856.00




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  Summary of Services by Task Code
  Task Code         Description                                 Hours                       Amount

 AA                 Asset Analysis/Recovery[B120]                2.20                   $1,539.00

 AD                 Asset Disposition [B130]                     5.00                   $3,500.00

 BL                 Bankruptcy Litigation [L430]                17.90                  $12,487.50

 CA                 Case Administration [B110]                   1.00                       $698.00

 CO                 Claims Admin/Objections[B310]               28.10                  $19,625.00

 CP                 Compensation Prof. [B160]                    1.90                   $1,320.50

 GC                 General Creditors Comm. [B150]               6.50                   $4,534.50

 HE                 Hearing                                      9.20                   $6,431.50

 IC                 Insurance Coverage                          16.40                  $11,480.00

 ME                 Mediation                                   12.60                   $8,210.00

 SL                 Stay Litigation [B140]                       2.90                   $2,030.00

                                                                    103.70             $71,856.00




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  Summary of Expenses
  Description                                                                            Amount
Outside Services                                                                 $500.00
Postage [E108]                                                                    $98.58
Reproduction Expense [E101]                                                      $332.96
Reproduction/ Scan Copy                                                            $2.90

                                                                                         $934.44




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                                                                                        Hours           Rate        Amount

  Asset Analysis/Recovery[B120]
 11/05/2021   IDS      AA       Draft letter to Lyster regarding parish expenditures.    0.50       700.00          $350.00
 11/08/2021   IDS      AA       Review emails from Committee re Annunciation             0.40       700.00          $280.00
                                parish condition
 11/08/2021   IDS      AA       Revise letter to Lyster re expenditures at               0.80       700.00          $560.00
                                Annunciation and St. Gregory.
 11/08/2021   IDS      AA       Revise letter to Lyster re parish expenditures.          0.30       700.00          $210.00
 11/16/2021   BMM      AA       Prepare production for Committee review.                 0.20       695.00          $139.00

                                                                                         2.20                   $1,539.00

  Asset Disposition [B130]
 11/08/2021   IDS      AD       Draft letter to Lyster re sale of St Ann's parish.       0.80       700.00          $560.00
 11/08/2021   IDS      AD       Review comps on Zillow re sale of St. Ann's parish.      0.50       700.00          $350.00
 11/08/2021   IDS      AD       Emails with committee re St Ann's sale.                  0.40       700.00          $280.00
 11/08/2021   IDS      AD       Review appraisal and listing for sale of St. Anne's      1.00       700.00          $700.00
                                property.
 11/09/2021   IDS      AD       Review claims information re St. Ann's parish.           1.10       700.00          $770.00
 11/09/2021   IDS      AD       Draft letter to Lyster re St Ann's sale.                 1.00       700.00          $700.00
 11/22/2021   IDS      AD       Respond to request for sale information regarding        0.20       700.00          $140.00
                                seminary from potential buyer.

                                                                                         5.00                   $3,500.00

  Bankruptcy Litigation [L430]
 11/02/2021   IDS      BL       Draft correspondence regarding identified                0.80       700.00          $560.00
                                perpetrators returned to ministry.
 11/03/2021   IDS      BL       Review potential settlement re slip and fall case.       0.80       700.00          $560.00
 11/03/2021   IDS      BL       Review bar date order re request to amend by             0.70       700.00          $490.00
                                Diocese
 11/05/2021   IDS      BL       Email to Temes regarding DRB participation.              0.40       700.00          $280.00
 11/08/2021   IDS      BL       Draft letter to Donato regarding return of               0.60       700.00          $420.00
                                perpetrators to ministry.
 11/08/2021   IDS      BL       Revise letter to Donato regarding return of perps to     0.80       700.00          $560.00
                                ministry.
 11/08/2021   IDS      BL       Review media return of perps to ministry.                0.80       700.00          $560.00
 11/15/2021   IDS      BL       Review claimant disclosure notices.                      0.80       700.00          $560.00




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                                                                                       Hours           Rate        Amount
 11/15/2021   IDS      BL       Call with counsel to claimant (Florida) re notice of    0.50       700.00          $350.00
                                disclosure of POCs.
 11/15/2021   IDS      BL       Email with Benson regarding disclosure of POC           0.30       700.00          $210.00
                                info.
 11/16/2021   IDS      BL       Review Connors reply re improper POC disclosures.       0.30       700.00          $210.00
 11/16/2021   IDS      BL       Email with Benson re improper POC disclosure.           0.30       700.00          $210.00
 11/17/2021   BMM      BL       Research diocesan child protection protocols.           1.30       695.00          $903.50
 11/22/2021   IDS      BL       Analysis of Diocesan Review Board process               1.80       700.00      $1,260.00
 11/22/2021   BMM      BL       Review Diocesan Review Board policies.                  1.00       695.00          $695.00
 11/23/2021   IDS      BL       Work on disclosure of information to law                0.50       700.00          $350.00
                                enforcement and Diocesan Review Board
 11/23/2021   BMM      BL       Review Diocesan Review Board policies.                  4.20       695.00      $2,919.00
 11/30/2021   BMM      BL       Review Diocesan Review Board policies.                  0.70       695.00          $486.50
 11/30/2021   BMM      BL       Review Diocesan Review Board policies.                  1.30       695.00          $903.50

                                                                                       17.90                  $12,487.50

  Case Administration [B110]
 11/01/2021   IDS      CA       Telephone conference Diocese regarding mediation.       0.40       700.00          $280.00
 11/01/2021   BMM      CA       Meeting with Debtor's counsel regarding ongoing         0.40       695.00          $278.00
                                case issues.
 11/05/2021   IDS      CA       Respond to Barr email regarding conflict.               0.10       700.00           $70.00
 11/15/2021   IDS      CA       Respond to Barr email regarding conflict.               0.10       700.00           $70.00

                                                                                        1.00                       $698.00

  Claims Admin/Objections[B310]
 11/01/2021   IDS      CO       Claims review and analysis.                             2.20       700.00      $1,540.00
 11/02/2021   IDS      CO       Claims review and analysis.                             4.20       700.00      $2,940.00
 11/04/2021   IDS      CO       Continue claims analysis.                               4.30       700.00      $3,010.00
 11/10/2021   BMM      CO       Review sexual abuse claims and revise chart.            0.50       695.00          $347.50
 11/15/2021   IDS      CO       Review relevant CVA documents for claims                1.80       700.00      $1,260.00
                                analysis.
 11/15/2021   IDS      CO       Review financial information provided by Diocese.       2.30       700.00      $1,610.00
 11/15/2021   BMM      CO       Review sexual abuse claims and revise chart.            5.80       695.00      $4,031.00
 11/16/2021   BMM      CO       Review sexual abuse claims and revise chart.            0.60       695.00          $417.00
 11/23/2021   IDS      CO       Claims review and analysis; revise spreadsheet.         4.30       700.00      $3,010.00




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                                                                                         Hours           Rate        Amount
 11/28/2021   BMM      CO       Review sexual abuse claims and revise chart.              2.10       695.00      $1,459.50

                                                                                         28.10                  $19,625.00

  Compensation Prof. [B160]
 11/10/2021   BMM      CP       Prepare PSZJ interim fee application.                     0.90       695.00          $625.50
 11/11/2021   BMM      CP       Prepare PSZJ interim fee application.                     1.00       695.00          $695.00

                                                                                          1.90                   $1,320.50

  General Creditors Comm. [B150]
 11/03/2021   IDS      GC       Draft agenda for Committee meeting                        0.70       700.00          $490.00
 11/04/2021   BMM      GC       Participate in Committee meeting regarding ongoing        0.50       695.00          $347.50
                                case issues.
 11/09/2021   IDS      GC       Prepare for counsel call.                                 0.30       700.00          $210.00
 11/09/2021   IDS      GC       Attend counsel call re mediation/mediator                 1.10       700.00          $770.00
                                selection/DRB issues.
 11/09/2021   IDS      GC       Draft email agenda re counsel call.                       0.40       700.00          $280.00
 11/09/2021   BMM      GC       Participate in call with state court counsel regarding    1.10       695.00          $764.50
                                ongoing case issues.
 11/16/2021   BMM      GC       Meeting with state court counsel regarding mediator       0.60       695.00          $417.00
                                selection and other case issues.
 11/18/2021   IAWN GC           Telephone conference with TCC re strategy                 0.90       700.00          $630.00
 11/18/2021   BMM      GC       Participate in committee meeting regarding ongoing        0.90       695.00          $625.50
                                case issues.

                                                                                          6.50                   $4,534.50

  Hearing
 11/12/2021   IAWN HE           Review Michaels email re hearings                         0.10       700.00           $70.00
 11/16/2021   IDS      HE       Prepare for 11/17 hearing.                                2.20       700.00      $1,540.00
 11/17/2021   IDS      HE       Attend hearing regarding mediation motion.                1.70       700.00      $1,190.00
 11/17/2021   IDS      HE       Prepare for hearing regarding mediation motion.           3.50       700.00      $2,450.00
 11/17/2021   BMM      HE       Hearing on mediation motion and insurance status          1.70       695.00      $1,181.50
                                conference.

                                                                                          9.20                   $6,431.50

  Insurance Coverage
 11/01/2021   IAWN IC           Pull articles for TCC for Michaels re coverage.           0.70       700.00          $490.00




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                                                                                         Hours           Rate        Amount
 11/10/2021   IDS      IC       Continue insurance policy analysis.                       2.20       700.00      $1,540.00
 11/18/2021   IDS      IC       Claims and insurance analysis.                            3.80       700.00      $2,660.00
 11/18/2021   IDS      IC       Policy analysis.                                          2.20       700.00      $1,540.00
 11/19/2021   IDS      IC       Continue review and analysis of insurance                 3.20       700.00      $2,240.00
                                documents.
 11/24/2021   IDS      IC       Claims and insurance analysis.                            4.30       700.00      $3,010.00

                                                                                         16.40                  $11,480.00

  Mediation
 11/01/2021   IDS      ME       Review mediator notes.                                    0.40       700.00          $280.00
 11/02/2021   IDS      ME       Email to mediator candidates.                             0.40       700.00          $280.00
 11/04/2021   IDS      ME       Call with potential mediator (JL)                         1.00       700.00          $700.00
 11/09/2021   IDS      ME       Email with mediator candidate (JP).                       0.20       700.00          $140.00
 11/10/2021   IDS      ME       Call with potential mediator for DOB case (JP).           0.80       700.00          $560.00
 11/10/2021   IDS      ME       Email to potential mediator for DOB case (JT).            0.70       700.00          $490.00
 11/10/2021   IDS      ME       Work on mediation motion statement.                       1.10       700.00          $770.00
 11/10/2021   IDS      ME       Email to potential mediator (JW)                          0.40       700.00          $280.00
 11/10/2021   IDS      ME       Call with Donato regarding mediators.                     0.40       700.00          $280.00
 11/12/2021   BMM      ME       Draft statement regarding mediation motion.               0.50       695.00          $347.50
 11/13/2021   BMM      ME       Draft statement regarding mediation motion.               1.00       695.00          $695.00
 11/16/2021   IDS      ME       SCC call re mediation, hearing.                           0.80       700.00          $560.00
 11/16/2021   IDS      ME       Reply to Committee chair inquiries regarding              0.40       700.00          $280.00
                                mediation.
 11/16/2021   IDS      ME       Email to SCC regarding mediation.                         0.30       700.00          $210.00
 11/16/2021   IDS      ME       Email to Committee regarding mediation.                   0.40       700.00          $280.00
 11/16/2021   IDS      ME       Revise statement regarding mediation.                     1.20       700.00          $840.00
 11/16/2021   LSC      ME       Coordinate filing of statement re mediation motion        0.90       300.00          $270.00
                                (.3); prepare certificate of service and service of
                                statement re mediation motion (.6).
 11/16/2021   BMM      ME       Review objections to Diocese's mediation motion.          0.50       695.00          $347.50
 11/17/2021   IDS      ME       Respond to Mueller inquiry regarding religious            0.20       700.00          $140.00
                                orders in mediation.
 11/17/2021   LSC      ME       Prepare certificate of service (.3); coordinate filing    0.60       300.00          $180.00
                                and service of statement re mediation (.3).
 11/18/2021   IAWN ME           Telephone conference with Ilan Scharf re mediation        0.10       700.00           $70.00




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                                                                                    Hours           Rate        Amount
 11/18/2021   IDS      ME       Review and respond to email from R. Malone           0.30       700.00          $210.00
                                regarding mediator selection.

                                                                                    12.60                    $8,210.00

  Stay Litigation [B140]
 11/04/2021   IDS      SL       Email with Benson re Diocesan Educational Campus     0.30       700.00          $210.00
 11/04/2021   IDS      SL       Call with Sullivan regarding Diocesan Educational    0.40       700.00          $280.00
                                Campus.
 11/16/2021   IDS      SL       Review and analyze Sisters of the Good Shepherd      2.20       700.00       $1,540.00
                                motion for stay extension.

                                                                                     2.90                    $2,030.00

  TOTAL SERVICES FOR THIS MATTER:                                                                          $71,856.00




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 Expenses

 11/02/2021   RE         Reproduction Expense. [E101] UPS, BMM                          58.76


 11/16/2021   PO         Postage                                                        98.58


 11/16/2021   RE         ( 75 @0.10 PER PG)                                              7.50


 11/16/2021   RE         ( 2667 @0.10 PER PG)                                          266.70


 11/16/2021   RE2        SCAN/COPY ( 21 @0.10 PER PG)                                    2.10


 11/16/2021   RE2        SCAN/COPY ( 8 @0.10 PER PG)                                     0.80


 11/30/2021   OS         Everlaw, Inv. 48682, Diocese of Buffalo database for the      500.00
                         month of November
   Total Expenses for this Matter                                                   $934.44




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                                                REMITTANCE ADVICE

                                    Please inlcude this Remittance with your payment

For current services rendered through:        11/30/2021

Total Fees                                                                                            $71,856.00

Total Expenses                                                                                            934.44

Total Due on Current Invoice                                                                          $72,790.44

  Outstanding Balance from prior invoices as of        11/30/2021          (May not include recent payments)

A/R Bill Number           Invoice Date              Fees Billed         Expenses Billed             Balance Due
 125270                   04/30/2020               $109,192.50             $625.07                    $10,919.25

 125276                   05/31/2020               $152,307.50             $578.14                    $15,230.75

 125334                   06/30/2020                $41,562.50           $1,006.09                     $4,156.25

 126177                   07/31/2020                $51,502.50           $1,349.12                     $5,150.25

 126524                   08/31/2020                $33,130.00             $247.58                     $7,891.75

 128245                   03/31/2021                $32,659.50             $555.35                     $3,448.23

 128247                   04/30/2021                $18,006.50             $514.72                    $18,521.22

 128249                   05/31/2021                $18,814.50             $500.00                    $19,314.50

 129096                   06/30/2021                $11,449.00             $500.00                    $11,949.00

 129097                   07/31/2021                $36,061.00             $594.20                    $36,655.20

 129098                   08/31/2021                $74,858.50             $796.74                    $75,655.24

 129099                   09/30/2021                $88,880.00           $2,475.12                    $91,355.12

 129102                   10/31/2021                $31,554.50             $501.00                    $32,055.50

             Total Amount Due on Current and Prior Invoices:                                         $405,092.70




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